                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION
   
  UNITED STATES OF AMERICA                         )
                                                   )
                                                   )     Case No. 1:15CR00003-014
                                                   )
  v.                                               )      OPINION AND ORDER
                                                   )
  ANTONIO HERNANDEZ MOHEDANO,                      )     By: James P. Jones
                                                   )     United States District Judge
                    Defendant.                     )

        Jennifer R. Bockhorst, Assistant United States Attorney, Roanoke, Virginia,
  for United States; Antonio Hernandez Mohedano, Pro Se Defendant.

        An evidentiary hearing is necessary to resolve defendant Antonio Hernandez

  Mohedano’s Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

  U.S.C. § 2255 (ECF No. 916). In one of the three § 2255 claims, Mohedano

  alleges that counsel rendered ineffective assistance, in violation of the Sixth

  Amendment, by not filing a notice of appeal when requested. Consequently,

  Mohedano presents at least one colorable claim of ineffective assistance of

  counsel, and the court defers adjudication of Mohedano’s other § 2255 claims.

  See, e.g., United States v. Killian, 22 F. App’x 300, 301 (4th Cir. 2001)

  (unpublished) (stating that a district court should not adjudicate other § 2255

  claims if vacatur is warranted); United States v. Witherspoon, 231 F.3d 923, 926–

  27 (4th Cir. 2000) (discussing effective representation as to notices of appeal).



                                              
   
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         For these reasons, it is hereby ORDERED as follows:

      1. The United States’ Motion to Dismiss (ECF No. 929) is TAKEN UNDER

         ADVISEMENT;

      2. The defendant’s Motion to Vacate, Set Aside, or Correct Sentence pursuant

         to 28 U.S.C. § 2255 will be subject to an evidentiary hearing before the

         undersigned, limited to the issue a notice of appeal;

      3. The clerk will arrange the appointment of counsel for defendant for the

         hearing;

      4. The clerk will schedule the hearing and will arrange for the defendant to

         appear at the hearing by video conference from his place of incarceration;

         and

      5. The clerk will send copies of this Order to the defendant and to appointed

         counsel.

                                                    ENTER: February 1, 2019

                                                    /s/ James P. Jones
                                                    United States District Judge

   




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